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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


Jessica Ballard,                     )
                                     )
                     Plaintiff,      )
                                     )
       v.                            )     No. 14 C 3572
                                     )
Illinois Central Railroad            )
Co., and Pamela Clermont,            )
individually,                        )
                                     )
                     Defendants.     )

                        Memorandum Opinion and Order

       In this action, Jessica Ballard, who is African American,

claims she was terminated from her job as a crew caller for

Illinois Central Railroad (“ICR”) because her supervisor, Pamela

Clermont,     harbored    racial    animus    against     her.   She   sues   her

employer under Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e-2(a)(1) and Section 1981, 42 U.S.C. § 1981, and

also sues Clermont individually under the latter. Before me is

defendants’ motion for summary judgment, which argues that the

undisputed     record     shows     that     plaintiff     was     appropriately

terminated     for    violating    company     policies    after    progressive

discipline, not for any discriminatory reason. Because I agree

that    the   record     as   a    whole    does   not    reasonably    support

plaintiff’s discrimination claims, I grant defendants’ motion.
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                                            I.

        The    following    facts    are    undisputed          except       where       noted.

Plaintiff began working for defendant in approximately January

of     2008.    After    being     disqualified          from    two     positions          for

performance      reasons,1     she    bid   on    and     obtained       a    crew       caller

position, which she held until her termination in October of

2012. Crew callers are part of ICR’s Crew Management Center

(“CMC”), and their duties include calling train crews to make

sure that employees are assigned to staff the right trains at

the right times. In addition, crew callers are responsible for

recording when crew members call in sick or otherwise need to

take time off work. In some circumstances, crew callers are also

responsible      for     “tying    up”    train    crews    at    the        end    of    their

shifts (i.e., recording the time at which they went off-duty).

        Pursuant    to    their    collective      bargaining          agreement,          crew

callers believed to have violated company rules, practices, or

policies are entitled to a formal investigation, including a

fact-finding       hearing,       prior   to     being    disciplined.             They    may,



1
   Plaintiff’s personal work record reflects that she was
disqualified from positions in “train reporting” and “material
handling.” Plaintiff testified that she was not successful in
these positions, explaining that she “didn’t get great training”
in the first, and that the second was “a man’s job” at which she
“didn’t do well.” Ballard Dep. at 87:12, 88:17-18. She does not
dispute defendants’ statement that she was disqualified from
these positions “due to performance reasons.” Pl.’s L.R. 56.1(a)
Resp. at ¶ 11.
                                            2
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however, waive investigation and accept responsibility for the

alleged violation.

        Plaintiff’s        2008    performance       review,   memorialized        in   an

“Employee      Performance         Scorecard,”       contained    positive      comments

about her work, noting that as a “new arrival...[plaintiff] has

already made contributions” and that she “continues to improve

and     take    advantage         of     her   fellow     callers    to    learn    from

them...the sky’s the limit.” DN 117-2 at 9.2

        Sometime in 2009, Human Resources investigated a complaint

against plaintiff in which a coworker alleged that plaintiff

used     “curse    words”         and    called     the   coworker   profane       names.

Plaintiff admitted that she used profanity but asserted that it

“wasn’t in a negative way.” Plaintiff was not disciplined for

the incident. Ballard Dep. at 135:12-24, 136:13-17, DN 117-1 at

18.     Plaintiff’s        2009        Scorecard,     which    ranked     her    overall

performance       as   a    “skilled      railroader”      (the   available     options

being “outstanding railroader,” “superior railroader,” “skilled


2
  The manner in which the parties organized their filings does
not lend itself to a unified system of citation (nor, indeed,
does it facilitate locating the cited documents in the record).
Accordingly, for simplicity and ease of reference, I cite where
possible to docket entries and to the page numbers automatically
generated by the CM-ECF system. One notable exception is where
plaintiff cites to evidence I allowed to be filed under seal
pursuant to her motion. See DN 123, 124. Because plaintiff never
actually filed the evidence, however, but provided only a
courtesy copy to my chambers, I cannot cite to it by docket
entry. Defendant has raised no objection to plaintiff’s reliance
on the unfiled evidence for present purposes.
                                               3
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railroader,” “needs to improve,” and “new employee”) included a

handwritten comment by supervisor Craig Dettman that “sometimes

in her haste she makes bad decisions, but when she is focused

she handles herself well.” DN 117-2 at 14.

        In May of 2010, plaintiff was notified of an investigation

after missing a call while working. Plaintiff admitted that she

missed the call, but explained that the investigation did not

proceed because it was her “first offense.” Ballard Dep. at

139:1, DN 117-1 at 19. Plaintiff was not disciplined for the

incident. Id. at 139:14-15. Then, in December of 2010, plaintiff

was notified of an investigation arising out of her failure to

call a replacement engineer while working as a crew dispatcher.

DN     117-2    at   21.    Plaintiff        waived    her       right   to   a    formal

investigation        and    received     a    five    day    deferred     suspension.3

Ballard Dep. at 147:13-24, DN 117-1 at 21. Plaintiff’s 2010

Performance Scorecard ranked her overall performance as “needs

improvement,”        and      included       handwritten          comments        by    her

supervisor       that      referred    to     her     as    an     “experienced        crew

dispatcher,” and a “well rounded caller,” but noted that she

“often gets distracted which leads to mistakes.” DN 117-2 at 19.



3
  The face of the document acknowledging plaintiff’s waiver
explains that a “deferred” suspension means that it “will not be
served unless you are subsequently proven guilty of a violation
of Company rules, policies, procedures, instructions, etc.”
within one year following the deferred suspension.
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        Defendant     Clermont         joined         the        CMC     in    2011       and       began

supervising       plaintiff       sometime           that        year.    In       July       of    2011,

Clermont coached Ballard after she improperly marked an employee

up for work. See Def.’s L.R. 56.1 Stmt. ¶ 23.4 In August of 2011,

Clermont      sent    plaintiff        a    letter          of    caution          for    using      her

personal      cell    phone       or       electronic            device        for       non-company

business while at work, in violation of company policy. DN 117-2

at 32; Pl.’s L.R. 56.1 Resp., Exh. 5 (sealed) at IC-Ballard

002399. On September 15, 2011, supervisor Craig Dettman coached

plaintiff on crew calling procedures after she failed to call a

brakeman for his shift. Def.’s L.R. 56.1 Stmt. ¶ 26. Plaintiff

was     not   disciplined     for       this         error.       Then,       on     approximately

November 18, 2011, plaintiff received a letter of reprimand for

failing to fill a crew assignment properly. Pl.’s L.R. 56.1

Resp., Exh. 5 (sealed) at IC-Ballard 002400. Plaintiff’s 2011

Performance       Scorecard,       which         was        signed        by       supervisor          Ed

Contreras,        ranked      her          overall           performance                 as        “needs

development.”        DN   117-2    at      35.       The     review       contained           numerous

handwritten      comments,     including,             “you        have    recently            had   many

errors on the job,” and “try to stay focused and improve your

quality of work.” Id. at 35.



4
  Plaintiff purports to dispute defendant’s “characterization of
the alleged incident,” but the evidence supports defendants’
characterization, and plaintiff points to no contrary evidence.
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        On   May    16,    2012,     and    June    5,   2012,      Clermont      notified

plaintiff of investigations to determine her responsibility, if

any, for using a personal cell phone while working, and for

sleeping while on duty. DN 117-2 at 44, 47. Plaintiff waived

investigation         of    both     incidents.      She     received      a   five      day

deferred suspension for the former violation and served a ten

day actual suspension for the latter. See Ballard Dep. at 190-

196 and Exh. 23; Pl.’s L.R. 56.1 Resp., Exh. 5 (sealed) at IC-

Ballard 002399. Then, on October 15, 2012, plaintiff received

three notices of investigation arising out of three separate

incidents      that       occurred    in    September        and    October      of    2012.

Evidentiary hearings were held in each of these investigations

on October 23, 2012.5

        One of the investigations concerned two occasions on which

plaintiff allegedly “tied up” crew members (i.e., marked them

off-duty at the end of their shifts) in violation of company

policies and directives. At the hearing, at which both plaintiff

and      Clermont      testified,          plaintiff        acknowledged       that       she

performed      the     tie-ups       in    the     manner     alleged,     and        further

conceded      that    she     was    familiar       with,     but    did   not        follow,

instructions Clermont circulated in April of 2012. Indeed, the


5
  Plaintiff states, and defendants do not dispute, that she was
not afforded the opportunity to waive these investigations. But
plaintiff does not suggest any link between her race and the
decision to require investigation of these incidents.
                                              6
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record reflects that on April 24, 2012, Clermont sent two emails

to    crew   callers        instructing      them         that     crew     members        were

generally required to tie themselves up using the company’s Crew

Assignment and Timekeeping System (“CATS”), subject to limited

exceptions, such as when the crew was in a remote area without

access to a CATS terminal, or when the time required for crew

members to reach a CATS terminal would cause them to exceed

their maximum allowable work hours. In those circumstances, crew

callers could perform a “quick-tie” on the crew members’ behalf,

and were to follow a specific procedure when doing so. Tr. of

10/23/12     Hr’g.     at    58:20-61:17,       DN   117-2        at    69-70.       Plaintiff

admitted at the administrative hearing that she did not follow

the    specified       procedure      but       instead      followed          her     “normal

routine” that she was “used to doing” because “nobody had made a

big fuss or a big deal about it.” Tr. of 10/23/12 Hr’g. at 61:5,

10-11, DN 117-2 at 70.

      Hearings were also held on additional charges that on one

occasion, plaintiff improperly scheduled a crew member to work

before he was medically cleared, and on another, she improperly

scheduled    a    crew      member   for    duty     on    his     rest    day.       Detailed

examination       of   the    evidence      presented        on        these    charges     is

unnecessary for present purposes. It suffices to note plaintiff

and   one    of    her      immediate      supervisors,           Jessica       Welch      (who

reported     to    Clermont),        both       provided         testimony,          and   that

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plaintiff       did     not   deny    the    conduct       attributed     to    her.   With

respect to the first charge, plaintiff acknowledged her failure

to follow company procedures, but explained why she believed her

conduct      to    be    appropriate        under       the    circumstances.     Tr.     of

10/23/12 Hr’g. at 49-52, DN 117-2 at 168. With respect to the

second, she admitted to leaving a conductor on the work schedule

after he called in to say he could not work because it was his

rest     day,     but   explained      that       she   thought     the   conductor     was

“joking.”6

        Austin     McConnell,        who    was    then       Superintendent    of     ICR’s

Regional Operations Center, states in his declaration that he

reviewed the transcripts of the three investigation hearings and

determined,        in   consultation        with    ICR’s       general   manager,     Hunt

Cary, that termination was the appropriate level of discipline

in    view   of    plaintiff’s        disciplinary         history.    McConnell       Decl.

¶ 4, DN 117-3 at 113. McConnell further states that he did not

discuss      plaintiff’s       termination          with      Clermont.   Id.    at     ¶ 5.

Plaintiff disputes the latter statement, insisting that Clermont

was involved in the decision to terminate her. According to


6
  In her L.R. 56.1 Response, plaintiff states that a “programming
error” caused ICR’s computer to contact the conductor to
indicate he was working on the day in question. During the
investigation, however, plaintiff did not attribute her mistake
to a programming error, but instead acknowledged that she
“should have noticed” a code that on her computer screen
indicating the conductor was not available to work. Tr. of
10/23/12 Hr’g. at 39-40, DN 117-2 at 124.
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plaintiff, Clermont often threatened to fire her and once said

she could “hold an investigation and...have you fired like I had

those two other black girls fired.” Ballard Dep. at 115:6-10, DN

117-1 at 13.

                                           II.

       Summary judgment is appropriate if “the movant shows that

there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). A material fact is genuinely in dispute when “the

evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477

U.S.     242,    248   (1986).      I    resolve       all       factual     disputes       in

plaintiff’s favor and give her “the benefit of all reasonable

inferences      that   may   be    drawn     from      the      record.”      Coleman       v.

Donahoe, 667 F.3d 835, 842 (7th Cir. 2012). Plaintiff is not

entitled,       however,     to    the    benefit          of    inferences        that    are

supported only by speculation or conjecture. Boss v. Castro, 816

F.3d 910 (7th Cir. 2016).

       In Loyd v. Phillips Bros., Inc., 25 F.3d 518 (7th Cir.

1994), the Seventh Circuit observed that “[w]hile Title VII of

the 1964 Civil Rights Act, 42 U.S.C. § 2000e et seq., is rather

straight-forward       on    its    own     terms...a           rather    thick     judicial

gloss,    over    twenty     years       deep,       has    developed,       in     part   to

accommodate       difficult       matters       of    proof       in     diverse     factual

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settings.” Id. at 521. That “gloss” continued to deepen over the

next two decades, even as judges expressed frustration with “the

snarls        and     knots     that    the    current    methodologies        used   in

discrimination cases of all kinds have inflicted on courts and

litigants alike.” Coleman v. Donahoe, 667 F.3d 835, 863 (7th

Cir. 2012) (concurring opinion joined by entire panel). In a

recent effort to cut through the morass of “disparate methods”

and “elusive mosaics,” the Seventh Circuit announced that “[t]he

time has come to jettison these diversions and refocus analysis

on the substantive legal issue.” Ortiz v. Werner Enterprises,

Inc., 834 F.3d 760, 764 (7th Cir. 2016). That issue, the court

held,        is     “whether     the    evidence      would   permit    a    reasonable

factfinder          to   conclude      that   the    plaintiff’s     race,   ethnicity,

sex, religion, or other proscribed factor caused the discharge

or   other        adverse      employment     action.”    Id.   at    165.   The   court

emphasized that the evidence “must be considered as a whole” and

that “[e]vidence is evidence,” irrespective of whether it may be

labeled “direct” or “indirect.” Id. With these principles in

mind, I turn to the parties’ arguments.

        In        defendants’       view,      the     undisputed      facts       refute

plaintiff’s theory that Clermont’s racial animus was the reason

for her termination. First, they argue that even assuming the

truth of plaintiff’s testimony that Clermont told her she would

fire her as she had “those two other black girls,” and further

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assuming that this comment reflects racial animus, as opposed to

merely     a     race-specific        description            of    individuals       who       had

recently been terminated, there is no evidence to suggest that

Clermont’s          remark   was    related      to     the       decision     to    terminate

plaintiff. Indeed, plaintiff does not dispute that McConnell and

Cary,    not        Clermont,    were     the    ultimate          decision      makers        with

respect to her termination, nor does she assert that either of

these individuals harbored racial animus against her. Instead,

her theory is that Clermont set her up for termination—or, in

her words, “created pretext to terminate” her—by issuing bogus

investigations that were either factually unfounded or based on

conduct        that    was      tolerated       by     white       employees.       But        even

interpreting the facts in the light most favorable to plaintiff,

the record simply does not support this theory.

        Having        waived        formal           investigation           and      admitted

responsibility for three infractions between October 2011 and

May 2012—all of which appear on the personal work record she

concedes        McConnell       reviewed        in     deciding       to     terminate          her

employment—plaintiff cannot now be heard to complain that these

investigations          were     factually       unfounded.          As    for      the    three

investigations          that     proceeded       to     evidentiary           hearings,        the

record reflects that plaintiff admitted the factual basis for

these    violations          too,   and    that       her    defense       focused        on    her

efforts        to     show      either     that        her        departure      from      ICR’s

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instructions was justified, or that it did not result in any

actual harm to defendant. But “federal courts are not a super-

personnel     department       that       second-guesses         facially          legitimate

employer policies. It is not the role of the court to determine

whether      an    employer’s       expectations         were        fair,    prudent,      or

reasonable.” Boss, 816 F.3d at 917 (internal citation omitted).

       Nor   does        plaintiff’s      insistence          that    the    investigation

proceedings were “flawed,” or that Clermont “concealed facts”

during the hearings entitle her to a trial on her discrimination

claims. A review of the transcript establishes that plaintiff—

who    was    represented        by       a     union    representative—had               ample

opportunity        to     question     Clermont         and     to    present       her    own

arguments and evidence. Even if, as plaintiff claims, Clermont

presented an “altered” email, she was free to challenge the

authenticity of the email at the hearing. There simply is no

factual basis in the record for concluding that the proceedings

themselves were flawed, much less that any flaws were designed

to cover up discrimination.

       As    for     plaintiff’s          argument       that        she     was     unfairly

disciplined        for    failing    to       follow    Clermont’s         instructions     to

crew   callers      regarding       tie-ups         because    the    instructions        were

inconsistent or confusing, courts “cannot interfere because an

employer’s decision is unwise or unfair.” Widmar v. Sun Chemical

Corp., 772 F3d 457, 464 (7th Cir 2014). At all events, I tend to

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agree with defendants that if plaintiff found the instructions

confusing, it behooved her to seek guidance from her managers

(as indeed Clermont explicitly directed crew callers to do),

rather    than    simply    ignore       them    and        go    on    with    her    “normal

routine.”

     As    for    plaintiff’s       comparator         evidence,          her   scattershot

catalog of employees and infractions does not raise a reasonable

inference that plaintiff was disciplined more harshly than any

other employee based on her race. While plaintiff is correct

that “the similarly-situated inquiry is flexible, common-sense,

and factual,” it nevertheless requires “sufficient commonalities

on the key variables between the plaintiff and the would-be

comparator” to raise a reasonable inference of discrimination

when viewed in light of the evidence as a whole. Coleman v.

Donahoe,    667   F.3d     835,    841    (7th     Cir.          2012).    As   illustrated

below, plaintiff’s comparator evidence falls woefully short.

     In    paragraphs      8-10    and     12-22       of    her       L.R.    56.1(b)(3)(C)

statements, plaintiff describes various mistakes and misconduct

allegedly    committed      by    Caucasian       employees,            which    she   claims

illustrate their more lenient treatment. But to the extent these

paragraphs    provide      any    of     the    “key    variables”            necessary   for

meaningful    comparison,         what    they    show       is     that      plaintiff   was

treated just as favorably as, if not more favorably than, her

comparators. For example, in paragraph 19, plaintiff states that

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ICR “did not terminate a Caucasian employee even though she made

numerous errors as a crew caller,” and instead gave the employee

a     different     position       within     the    company.       Plaintiff      further

asserts      that      the    employee’s     personal       work    record       “does   not

reflect her mistakes; but does indicate she was disqualified

from her position.” Pl.’s L.R. 56.1 Stmt. ¶ 19, DN 121 at 9-10.

See     also     id.     at    ¶ 20    (describing      similar          infractions      and

discipline). The very same can be said of plaintiff, however,

who, by her own admission, was disqualified from her first two

positions       for     failing       to   perform    adequately,          and   who     made

several      errors      as   a   crew     caller    that   do     not    appear    on    her

personal work record and for which she received no discipline.

        In     another       paragraph,     plaintiff       describes       a    Caucasian

employee who failed to fill a conductor position in November of

2011 and received a letter of reprimand; failed to go to work in

August of 2012 and received a deferred suspension; failed to

contact an engineer in November of 2012 and received a deferred

suspension; and failed to contact a pilot and a foreman in March

of 2013 and was disqualified as a crew caller. Id. at ¶ 17. By

comparison, plaintiff—who received no discipline for her “first

offense” of failing to call a crew member in May of 2010—also

received a deferred suspension for a subsequent failure to call

an engineer, and also received a letter of reprimand in November

of 2011 for failing to fill a crew assignment. Similarly to her

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comparator,        plaintiff          received       a   deferred      suspension      for    a

subsequent infraction, and, as noted above, had already been

disqualified           from    her     first     two      positions        for    performance

reasons.    In     short,        nothing       about     this    comparison        reasonably

suggests that plaintiff was treated less favorably because of

her race.

      Other       putative           comparators         are     farther         afield,     and

plaintiff’s summary account of their discipline does not lend

itself to meaningful comparison with her own. For example, in

paragraphs        10    and     12,    plaintiff         asserts    that     ICR    “did    not

terminate     a    Caucasian          employee       that   failed     a    drug    test”     in

November of 2013 and did not investigate an employee who gave

out   a    personal           cell    phone     number      to     another       employee    in

September of 2011. Absent from plaintiff’s factual statements,

however,     are       “key     variables”       such       as   who    supervised         these

individuals, who made the decisions about their discipline, and

whether     they        had     any     past     disciplinary          history.       Indeed,

plaintiff does not even identify the second comparator’s race.

However “flexible” the similarly-situated analysis may be, it

requires    “enough           common    features         between    the     individuals      to

allow a meaningful comparison.” Coleman, 667 F.3d 835. As the

foregoing examples illustrate, plaintiff’s comparator evidence

does not meet this test.



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        Nor    does   plaintiff’s       half-hearted          invocation    of    quasi-

statistical evidence suggest a discriminatory motive behind her

termination. Plaintiff states that between 2008 and 2014, ICR

noticed an investigation and subjected to discipline fifty CMC

employees,       of   whom    twenty-five       were    African-American,        twenty

were Caucasian, and five were Hispanic or Latino. Pl.’s L.R.

56.1 Stmt at ¶ 4, DN 121 at 3.7 She further observes that of the

six employees who were terminated during that time period, five

were      African-American        while       only     one     was     Caucasian.    Id.

Plaintiff also asserts that during Clermont’s tenure as Regional

Manager for the Crew Management Division from November 2011 to

April 2013, nineteen notices of investigation were issued to

seven       African-American          employees,        while        ten   notices    of

investigation were issued to five Caucasian employees. Id. at

¶ 5.     Finally,     she    states    that    all     four    employees    terminated

while Clermont was Regional Manager were African-American. Id.

        Plaintiff     evidently       believes       that    the     foregoing   figures

speak for themselves, as her analysis goes no further than the

numbers. But statistics are not meaningful in a vacuum, and

plaintiff makes no effort to explain how the numbers she cites

suggest that defendant’s stated reason for her termination was


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  Defendants state that the total number of employees disciplined
was fifty-one, of whom twenty-one were Caucasian. The evidence
appears to support defendants’ position, see DN 121-6 at 4-6,
but the difference is immaterial.
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pretextual. To be sure, statistical evidence may be powerful in

cases alleging a widespread pattern or practice of employment

discrimination. See Int’l Broth. of Teamsters v. U.S., 431 U.S.

324, 339 (1977). But even in such cases—of which this decidedly

is not one8—the usefulness of statistics “depends on all of the

surrounding facts and circumstances.” Id. at 340. In this case,

with no evidence at all about the circumstances under which the

employees       referenced     in   paragraphs     4   and   5    of   plaintiff’s

factual statements were disciplined, the statistics she provides

are meaningless.

        Finally, plaintiff’s suggestion that her termination must

have been due to Clermont’s racial animus because plaintiff’s

disciplinary record was clear prior to Clermont’s arrival is

contrary to the record. Indeed, plaintiff does not dispute that

in May of 2010, she was notified of an investigation for missing

a call, and that in December of 2010, she received a deferred

suspension for failing to call a replacement engineer. It is

true     that    the   investigation      did   not    proceed,    and   that   the

suspension was never served, but these facts support defendants’

position, not plaintiff’s because they illustrate that, like her


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   For at least this reason, I agree with defendants that
plaintiff’s evidence that another employee has filed a law suit
in which he claims to have seen “racial slurs written on
bathroom walls, written on bathroom stalls, written on engines”—
none of which plaintiff claims to have seen—does not support her
claim that she was terminated because of her race.
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colleagues,         plaintiff       benefitted      from     progressive       discipline.

Indeed,      even    after    Clermont         became   her      supervisor,     plaintiff

continued       to     receive       coaching       and      other      non-disciplinary

employment measures before ultimately being disciplined for her

mistakes. See Def.’s L.R. 56.1 Stmt. ¶¶ 23-24, 26-29. On this

record, no reasonable juror could conclude that plaintiff would

have     kept    her    job    if    she   had      been     a   different      race   “and

everything else had remained the same.” Ortiz, 834 F.3d at 764.

        In the end, plaintiff’s evidence of discrimination boils

down to Clermont’s remark that she would investigate and fire

plaintiff like she did “those two other black girls.”9 But that

stray     comment      is    too    thin   a    reed    to    support    the    weight   of

plaintiff’s claim. The facts here cannot reasonably be compared

to those in either Hasan v. Foley & Lardner LLP, 552 F.3d 520

(7th Cir. 2008), or Ayissi-Etoh v. Fannie Mae, 712 F.3d 572

(D.C. Cir. 2013), which plaintiff cites in her opposition. In

Hasan, a Muslim attorney brought a discrimination claim after he

was     terminated      by    his    law   firm.       The   evidence     the   plaintiff

presented at summary judgment included testimony that a year

before his termination, one of the firm’s partners had said of

Muslims, “those people don’t belong here...they should kick them


9
  Plaintiff also asserts that on another occasion, Clermont
referred to her as a “wing nut.” Plaintiff does not explain, nor
is it obvious from anything else before me, how this comment
reflects racial animus.
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all out.” Hasan, 552 F.3d at 523. That partner was among those

who    participated        in   the    meeting       at   which   the     plaintiff’s

termination was discussed. In addition, the plaintiff testified

that after that meeting, another partner told him, “too bad that

[the first partner] and those guys took out their religious

dispute in Israel on you and had you fired.” Id. at 524. Unlike

in    this   case,   the    evidence     in       Hasan   suggested   a   clear   link

between the decision to terminate the plaintiff and religious

animus on the part of the decision makers.

       In Ayissi-Etoh, the evidence suggested an even clearer link

between the plaintiff’s race and an adverse employment decision.

There, the plaintiff was promoted by his employer, but he was

denied a salary increase and claimed that his manager told him,

“[f]or a young black man smart like you, we are happy to have

your expertise; I think I’m already paying you a lot of money.”

Ayissi-Etoh, 712 F.3d at 574. These facts call to mind “the

fabled employer who admits to firing an employee because of his

race,” which the Seventh Circuit invoked in Ortiz to illustrate

that    “some   cases      permit     easy    inferences.”     834    F.3d   at   765.

Indeed, the Ayissi-Etoh court reversed summary judgment after

observing that the individual apparently responsible for making

decisions about the plaintiff’s salary had “explicitly denied

him a raise because of his race.” 712 F.3d at 576.



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